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Attorneys for Defendant


                                 UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,                         )
                                                  )
                  Plaintiff,                      )   Case No. CR-17-328-BLW
                                                  )
vs.                                               )   MOTION FOR PRETRIAL RELEASE
                                                  )   AND REQUEST FOR HEARING
TRAVIS NEWBOLD,                                   )
                                                  )
                  Defendant.                      )
                                                  )



                  COMES NOW, Travis Newbold, by and through counsel, and respectfully moves

the Court pursuant 18 U.S.C. '3142 for review of his pretrial release status. Defendant waived

detention at his initial appearance, and the Court entered its Order of Detention on January 24,

2018.     Defendant requests the Court to review his pretrial release status and requests a hearing

in this matter.

                  Defendant waived detention in part, because of a state detention issue that was

pending. Defendant believed that by waiving his detention hearing would result in a speedy

resolution of his state ordered custody. As of this date, the state concern has yet to be resolved.


Motion to For Pretrial Release
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Defendant seeks release to assist in resolving his state custodial circumstances. In addition,

Defendant is an independent job contractor and currently has jobs that need to be completed. Mr.

Newbold seeks to be released on pre-trial release so that he can resolve this state matter as well as

return to work to complete jobs that have yet to be completed. Defendant respectfully requests that

the Court review his pretrial release status and requests a hearing in this matter.

                 DATED this 20th day of February, 2018.


                                                      By:           /s/
                                                      Steven V. Richert


                                  CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that the foregoing document was electronically filed with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following person(s):


Michael.Fica@usdoj.gov

                                               ______/s/___________________________
                                               Steven V. Richert




Motion to For Pretrial Release
